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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       CASE NO. 21-CR-60-CKK
              v.                            :
                                            :
JESUS RIVERA,                               :
                                            :
                     Defendant.             :

                            PRETRIAL SCHEDULING ORDER
                                  (January 10, 2022)
                                                                       Proposed Deadlines
Discovery & Associated Deadlines
Government to complete any final discovery under present indictment            N/A
Aspirational date for grand jury decision re: superseding indictment           N/A
Government to complete discovery under any superseding indictment              N/A
Discovery motions (Fed. R. Crim. P. 16)                                     May 6, 2022

Expert Notices & Other Crimes Evidence
Government’s expert notice (FRE 701 & 702)                                 April 8, 2022
Defendant’s expert notice (FRE 701 & 702)                                  April 8, 2022
Government’s FRE 404(b) notice                                             April 8, 2022
Defendant’s response to FRE 404(b) notice                                  April 22, 2022
Brady notice                                                                May 6, 2022

Experts
Expert reports (FRE 702)                                                    April 8, 2022
Lay witness identification and subject matter (FRE 701)                     May 6, 2022

Non-Evidentiary Pretrial Motions
Defendant’s non-evidentiary pretrial motions,                              March 4, 2022
such as motions challenging the indictment
Government’s response to Defendant’s non-evidentiary motions               March 18, 2022
Defendant’s reply as to non-evidentiary motions                            March 25, 2022
Government’s non-evidentiary pretrial motions                              March 4, 2022
Defendant’s response to Government’s non-evidentiary motions               March 18, 2022
Government’s reply as to non-evidentiary motions                           March 25, 2022

Evidentiary Pretrial Motions
Defendant’s evidentiary pretrial motions,                                   April 8, 2022
such as motions to suppress evidence, or Daubert
Government’s response to Defendant’s evidentiary motions                   April 22, 2022
Defendant’s reply as to evidentiary motions                                April 29, 2022
Government’s evidentiary pretrial motions,                                 April 8, 2022
such as Daubert and other crimes (404(b))
Defendant’s response to Government’s evidentiary motions                   April 22, 2022
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 Government’s reply as to evidentiary motions                                   April 29, 2022

 Motions in Limine
 Motions in limine by both sides                                                April 8, 2022
 Responses to motions in limine                                                 April 22, 2022
 Replies as to motions in limine                                                April 29, 2022

 Joint notice of stipulations                                                    May 6, 2022
 Giglio and Jencks material                                                      May 31, 2022


 Voir Dire and Jury Instructions                                                May 31, 2022

 Witness and Exhibit Lists
 Government’s witness list, exhibit list and exhibits                           May 31, 2022
 Defendant’s witness list, exhibit list and exhibits



Pre-Trial hearings (to include resolutions of objections to evidence) shall take place as needed on
a series of dates to be discussed with the Court. At present, status hearings are scheduled for the
following times: February 22, 2022 at 11:00 AM ET; April 1, 2022 at 10:00 AM ET; and May
13, 2022 at 10:00 AM ET.


Trial is tentatively scheduled to begin on Tuesday, June 14, 2022. The parties shall promptly
notify the Court if they want to change this date.
                                                               /s/
SO ORDERED.
                                                        COLLEEN KOLLAR-KOTELLY
                                                        United States District Judge




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